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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 RONDA L. DAVIS, et al.,

          Plaintiffs,
                                                  Civil Action Nos. 1:10-cv-01564-RC
          v.                                                        1:10-cv-01718-RC

 DISTRICT OF COLUMBIA,

          Defendant.


                                          ORDER

         Upon consideration of Defendant’s Motion for Summary Judgment (Motion), and the

entire record, it is:

         ORDERED that the Motion is GRANTED, and it is further

         ORDERED that judgment be entered for Defendant on all claims.

         SO ORDERED.



 Date:
                                                RUDOLPH CONTRERAS
                                                United States District Judge
